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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 STELLA BULOCHNIKOV STOLPER,                      and
 WIKKED ENTERTAINMENT, INC.,
                                                        Civil Action No.
         Plaintiffs
                                                        COMPLAINT
                 - against -                            DEMAND FOR JURY TRIAL

 FELIX SATER and KALSOM KAM,

         Defendants.

       Plaintiff Stella Bulochnikov Stolper (“Stolper”) and Wikked Entertainment, Inc. (“Wikked,”

together with Stolper “Plaintiffs”), by their attorneys, Pryor Cashman LLP, as and for their

Complaint against defendants Felix Sater (“Sater”) and Kalsom Kam (“Kam,” together with Sater,

“Defendants”), alleges as follows:

                                  NATURE OF THE ACTION

       1.       In 2017, Plaintiff Stella Bulochnikov reconnected with an old acquaintance from

her childhood Felix Sater. Stolper extended generosity, confidence and trust to Defendant Felix

Sater by permitting him to be a guest in her family home. Stolper later extended this same

generosity, confidence and trust to Sater’s assistant, Kalsom Kam.

       2.       In late 2018, after becoming frustrated and suspect with Sater and Kam taking

advantage of her hospitality, Stolper demanded that Sater and Kam remove themselves from her

home and cease meddling in her business and personal affairs.

       3.       Shortly thereafter, Stolper was shocked and devastated to learn that Sater and Kam

had created unauthorized electronic methods of backdoor access to all of the data on her computers

and digital devices, and were using those backdoors to access and misappropriate all of Wikked’s

confidential, proprietary and valuable business files, as well as all of Stoloper’s separate business

files and all of her personal files and photos relating to her and her family.

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       4.      Through this action, Plaintiffs seek to hold Sater and Kam accountable for their

willful and malicious hacking and misappropriation of valuable electronically stored property,

invasions of privacy, breach of confidential relations, and to permanently enjoin any further

unauthorized access or use of plaintiffs’ confidential computer information, together with a

mandatory injunction directing Defendants to turn over all copies of all electronically stored

information misappropriated by Defendants from Plaintiffs’ computers, smart phones and other

digital devices.

                                         THE PARTIES

       5.      Plaintiff Stella Bulochnikov Stolper is a successful content creator, developer,

television producer and entrepreneur. Stolper was the Senior Vice President of Talent and

Development at Viacom from in or about 2003 through 2008, and is a Golden Globes’ nominee

for her creative and successful works. Plaintiff is an individual domiciled in Calabasas, California.

       6.      Plaintiff Wikked Entertainment, Inc. is a California Corporation with a principal

place of business in Calabasas, California. Wikked is a successful production company associated

with various television and music properties.

       7.      Defendant Felix Sater is a natural person who, upon information and belief, is

domiciled in the state of New York.

       8.      Defendant Kalsom Kam is a natural person who, upon information and belief, is

domiciled in the state of New York.

                                 JURISDICTION AND VENUE

       9.      The Court has subject matter jurisdiction because Plaintiffs’ claims arise under the

Computer Fraud And Abuse Act, 18 U.S.C. § 1030 et. seq, and the Stored Communications Act,

18 U.S.C. § 2701 et seq. Accordingly, the Court has original jurisdiction under 28 U.S.C. § 1331.



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        10.     The Court also has subject matter jurisdiction under 28 U.S.C. § 1332 as this action

is between citizens of different states and the amount in controversy exceeds $75,000 exclusive of

interests and costs.

        11.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

                                  FACTUAL ALLEGATIONS

        12.     As a child growing up in Brooklyn, New York, Stolper became friends with Regina

Sater, Defendant Sater’s sister. Through Sater’s sister, Stolper became acquainted with Felix Sater.

        13.     Stolper and Sater lost touch for many years, but reconnected in November of 2017

at a funeral.

        14.     At that time, Stolper was experiencing feelings of personal and professional

vulnerability. Sater took advantage of Stolper’s delicate emotional state and their shared history,

and began spending more and more time with Stolper.

        15.     Sater sought to leverage Stolper’s substantial connections in the entertainment

industry, and requested that Stolper make introductions for him so that Sater could pitch media

endeavors based upon his own turbulent life story.

        16.     Sater began spending more and more time in Los Angeles, and was frequently a

guest at Stolper’s home during these visits.

        17.     Around this time, Sater introduced Stolper to his associate, Defendant Kalsom Kam.

Kam operated as Sater’s personal assistant and information technology consultant. Kam also

frequently traveled with Sater or on Sater’s behalf, including numerous trips to Los Angeles.

During those visits, Kam also was a guest at Stolper’s home.




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        18.      This arrangement continued for several months, during which Sater and Kam,

having induced and lulled Stolper’s trust and confidence, frequently had access to Stolper’s home

even while Stolper was not there.

        19.      By the Fall of 2018, the relationship between Stolper and Sater had deteriorated. In

particular, Stolper became frustrated and suspect with Sater’s and Kam’s increasingly lengthy

stays at her home, and with their increased meddling in her business, professional and personal

affairs. Finally, Stolper demanded that Sater and Kam permanently leave her home.

        20.      On or around October 26, 2018, Sater and Kam finally vacated Stolper’s home for

the last time.

        21.      Upon information and belief, in November 2018, Plaintiffs discovered that at some

point, without her knowledge or authorization, Kam had created a form of electronic backdoor

access for himself and Sater to remotely access Plaintiffs’ computers and devices, including those

used for the business of Wikked Entertainment and for Stolpher’s separate business and personal

affairs. Plaintiffs further discovered that Kam and Sater had continued to access Plaintiffs’

computers and devices via the unauthorized backdoor remote access, even after Defendants were

directed to leave her home.

        22.      Upon information and belief, Defendants misappropriated virtually all of Wikked

and Stolper’s digital and electronic files. For Wikked, such files include, but are not limited to,

contracts with studios and talent, client deals and correspondence, confidential client information,

scripts, treatments, contracts, and other protected intellectual property. For Stolper, such files

include, but are not limited to, her own show ideas not yet marketed, intellectual property she

created, submissions to studios, production companies and networks, confidential conversations

with business associates, original business ideas and materials related to her endeavors in the



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entertainment industry, contracts, television scripts and other intellectual property, as well as her

personal correspondence, personal mementos (such as photographs of her family), text messages

iChat’s, financial records, and other personal confidential information.

          23.    Plaintiff is still investigating the full scope of Defendants’ misappropriation,

deletion, tampering, and other interference with her digital files via Defendants’ unauthorized

backdoor access, and as of this date, remains unaware of the full scope of such unauthorized access.

          24.    To investigate the scope of Defendants’ unauthorized access, accurately catalogue

what materials have been misappropriated, and secure their devices from further incursions or

digital attacks by Defendants, Plaintiffs have been forced to spend over $5,000 dollars to engage

computer security and forensic experts.

                                   FIRST CAUSE OF ACTION
                Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030
                                     (Against All Defendants)

          25.    Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully set forth

herein.

          26.    Plaintiffs’ computers are used for business purposes and are involved in interstate

commerce and communication, and thus are protected computers under 18 U.S.C. § 1030(e)(2).

          27.    Defendants willfully and intentionally accessed Plaintiffs’ computers and smart

devices without authorization in or around October and November 2018.

          28.    Defendants used hacks, backdoors, and other nefarious electronic means to access

Plaintiffs’ computers and smart devices, and misappropriated, copied and converted valuable,

unauthorized information from Plaintiffs’ computers and smart devices, including but not limited

to confidential client information, scripts, treatments, contracts, and other intellectual property.

          29.    As a direct and proximate consequence of the foregoing, Plaintiffs have undertaken

various investigative and remedial measures to secure their devices and prevent further
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unauthorized incursions and thereby sustained a “loss” in excess of $5,000 during a one-year

period within the meaning of 18 U.S.C. § 1030(c)(4)(i)(I).

          30.     18 U.S.C. § 1030(g) confers a private right of action in favor of any person,

including, any firm or corporation, who suffers loss or damage within the meaning of the Act.

          31.     Accordingly, Plaintiffs are entitled to damages in an amount to be determined at

trial but in no event less than $75,000, as well as injunctive relief 1) prohibiting Defendants from

any additional unauthorized access of Plaintiffs’ computers or digital devices and from using,

maintaining, disclosing, and/or disseminating Plaintiffs’ proprietary information garnered through

such unauthorized access: and 2) directing Defendants to turn over all copies of all electronically

stored information and property misappropriated by Defendants from Plaintiffs’ computers, smart

phones and devices.

                                   SECOND CAUSE OF ACTION
                Violation of the Stored Communications Act, 18 U.S.C. §§ 2701, 2707
                                       (Against All Defendants)

          32.     Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully set forth

herein.

          33.     Defendants intentionally accessed, without authorization, the facilities through

which Plaintiffs’ electronic communication services are provided.

          34.     Defendants obtained, copied, altered, misappropriated and converted, via

unauthorized access, Plaintiffs’ electronic communications while in electronic storage, including

but not limited to, emails, chats, and text messages.

          35.     Defendants’ unauthorized access and acts set forth herein were willful and

intentional, for the purpose of Defendants’ own commercial advantage and/or private commercial

gain.



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       36.     As a direct and proximate result of Defendants’ actions, Plaintiffs have undertaken

various investigative and remedial measures to secure their devices and prevent further

unauthorized incursions and thereby suffered actual damages.

       37.     Accordingly, Plaintiffs are entitled to damages in an amount to be determined at

trial but in no event less than $1,000 per violation, along with reasonable attorneys’ fees and costs

in an amount to be determined after trial, and punitive damages in an amount to be determined at

trial but in no event less than $1,000,000.

       38.     Plaintiffs are further entitled to equitable relief 1) enjoining and restraining

Defendants from any further access of Plaintiffs’ computers or digital devices and from using,

maintaining, disclosing, and/or disseminating Plaintiffs’ proprietary information garnered through

such unauthorized access; and 2) directing Defendants to turn over all copies of all electronically

stored information and property misappropriated by Defendants from Plaintiffs’ computers, smart

phones and devices.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment as follows:

       A.      A permanent injunction enjoining Defendants from (i) accessing, obtaining,

modifying, or deleting information on any of Plaintiffs’ computers or digital devices and (ii) using,

maintaining, disclosing, and/or disseminating Plaintiffs’ proprietary information garnered through

such unauthorized access.

       B.      A mandatory injunction directing Defendants to turn over all copies of all

electronically stored information misappropriated by Defendants from Plaintiffs’ computers,

smart phones and devices;




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          C.   Awarding Plaintiffs compensatory damages in an amount to be proven at trial but

in no event less than $75,000 and consequential and punitive damages in an amount to be

determined at trial, but in no event less than $1,000,000 plus statutory attorneys’ fees and costs;

          D.   Awarding such other and further relief which as to this Court may seem just and

proper.

Dated: New York, New York
       March 1, 2019




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